                                                                                                 DISTRICT OF OREGON
                                                                                                      FILED
                                                                                                     October 11, 2022
                                                                                              Clerk, U.S. Bankruptcy Court




 10/11/2022                                                                                    Judge Teresa H Pearson

 10:30 22-30228-thp11                    AAIM CARE, LLC - db                     THEODORE J PITEO
                                         Dr. Stephen Fritz - cr                  SUSAN FORD; GARRETT EGGEN
                                         Chase Bank, NA - cr                     STEVEN LINKON
                                         Amy E Mitchell -tr
                                         US Trustee, Portland -ust               CHRISTIAN TORIMINO

 Matter: Motion to Extend Time To Produce Documents. Filed by CMD Group, LLC Re: 125 Order
 Granting 108 Application for Examination of DR. SANJEEV JAIN, RAJEEV JAIN, AND CHASE
 BANK, N.A. Under Rule 2004 filed by Creditor Stephen Fritz, M. D.. (lew) (lew) Doc# 204

 Additional Appearances: Susan Goodman, patient care ombudsman; Dr. Jain; Rajeev Jain

 Summary of Proceedings

 Court will deny the motion for 3 reasons: (1) CMD Group was not ordered to produce anything, so it does not
 have standing to file this motion; (2) this motion was not filed by counsel and an entity may only appear
 through counsel, and (3) the motion was filed after the deadline to request it, but without meeting the standard
 of excusable neglect set out in the U.S. Supreme Court's Pioneer Inv. Servs. Co. v. Brunswick Assocs. Ltd.
 P'ship, 507 U.S. 380, 113 S. Ct. 1489, 123 L. Ed. 2d 74 (1993) decision.


 Order to be prepared by:                Clerk’s Office                  Chambers           Other:

 Minute Order:

For the reasons set forth above and on the record, the Court DENIES the motion to extend time to produce documents filed
by CMD Group, LLC (ECF No. 204).




                               Case 22-30228-thp11            Doc 219       Filed 10/11/22
